      Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 1 of 22
Case:            ZV2023-05061                                                      City Of Miami Beach Case Notes Summary
Case Status:     Fine Paid                                                                            Printed on: 11/25/2024
Open Date:       12/10/2023                                                                                       Page 1 of 1
Close Date:      01/23/2024
Case Description: REF: Using a single-family home for a commercial use and/or advertising the residential property for a
commercial use and/or advertising the residential property for the purpose of promoting the occupancy or use of the
single-family home for less than 6 months and 1 day, in violation of this ordinance.
REF: NYLON, in partnership with FRAMEWORK, brought NYLON Nights to Miami Art Week -(Featuring other branded partners

Note Text                                                                       Created By                Date
Verified invoice # 00451488 was paid in full, closed case.                      StephanieNoa@miamibeachfl.gov
                                                                                                         01/23/2024

Attached executed Agreed Order, reduced fine to $10,000 per order, and StephanieNoa@miamibeachfl.gov
                                                                                                01/23/2024
created invoice # 00451488. Sent invoice to customer via email,
daisy@lhochsteinmd.com, with payment instructions.
Submitted to CCA Thomas for processing. MB                                      mindyblanco@miamibeachfl.gov
                                                                                                          01/23/2024

Agreed Order. Attached. MB                                                      mindyblanco@miamibeachfl.gov
                                                                                                          01/23/2024

Case has been appealed. SM TBD                                                  mindyblanco@miamibeachfl.gov
                                                                                                          01/10/2024

Wait appeal time frame. MB                                                      mindyblanco@miamibeachfl.gov
                                                                                                          12/28/2023

Obtained service, copy of delivery confirmation attached & created task         LauraAguilar@Miamibeachfl.gov
                                                                                                           12/26/2023
to notify CCO of service obtained.
Received task from CCA authorizing certified mail process. Prepared and LauraAguilar@Miamibeachfl.gov
                                                                                                   12/12/2023
sent certified mail
I received the case paperwork from issuing Officer to have the case             RianneThomas@miamibeachfl.gov
                                                                                                       12/12/2023
processed for Certified Mail. I will turn the case over to clerical today for
processing. R.Thomas
Submitted to CCA for Review–Certified Mail                                      mindyblanco@miamibeachfl.gov
                                                                                                          12/11/2023

Site inspection did not reveal any activity at the residence. I research  mindyblanco@miamibeachfl.gov
                                                                                                    12/10/2023
online on World Red Eye website, social media and I was able to locate
on Social Media postings of an event that took place within the residence
with NYLON, in partnership with FRAMEWORK, brought NYLON Nights
to Miami Art Week -(Featuring other branded partners Body Amour &
Patron Tequila). Which is prohibited in zone RS-1
 Notice of violation was issued. BWC was not needed for internet
research only for the site inspection.
1st Offense: $25,000.00.
DocuSign Envelope ID: 0249972E-6B4F-4F31-AF78-23307C124BE7
          Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 2 of 22
                                                                                                                                                           
                                                                                                                                                                  
                                                                                                                                                                                
                                                                                                                                                              
                                                                                                                                                                     
                                                                                                                                                   

                                                
                                                                                                                                          

                                                                                                                       

                                 
                            
                                  
                                                                                                              

    
    
    
    
    
    
                                        
                                                  
    
    
    
    
    

    
    

    

    
    
    
    
    

    
    
    

    
    

    
    


                                                                                                             
                                                                                                                                              
                                                                                    
                                                                                    
                                                                                                                    
                                                                      



                                                                                             
               
            
                 




                                                        12/10/2023 | 6:22 PM EST

                 
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 3 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 4 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 5 of 22



                           IN AND BEFORE THE SPECIAL MAGISTRATE
                             OF THE CITY OF MIAMI BEACH, FLORIDA

                                                     CODE VIOLATION CASE NO.: ZV2023-05061
   LEONARD HOCHSTEIN,

          Petitioner,

   vs.

   CITY OF MIAMI BEACH,

          Respondent.


                        AGREED ORDER MODIFYING MONETARY FINES

          UPON STIPULATION AND AGREEMENT with Robert Switkes, Esquire and on behalf of

  Leonard Hochstein, (hereinafter referenced as the "Petitioner"), and Deputy City Attorney, Steven

  H. Rothstein, counsel to Respondent (hereinafter referenced as the "City"), regarding the code

  enforcement violation referenced above in this Agreed Order against the real property which is

  located at 42 Star Island, Miami Beach, Florida (the "Property"), the respective parties having

  agreed to the terms of this Order,


          IT IS HEREBY ORDERED AND ADJUDGED as follows:

          1.      Petitioner hereby acknowledges that there is a violation of the City Code, Section

  142-109; using a single-family home for a commercial use and/or advertising the residential

  property for a commercial use and/or the transient (short-term) rental and/or occupancy, which

  violation is identified as Code Compliance Case Number ZV2023-05061 (first offense).

          2.     The parties agree that the monetary fine for this violation shall be modified to reflect

  the amount of Ten Thousand and 00/100 Dollars ($10,000), which shall be due on or before

  February 20, 2024. If payment is not made as specified above, the fine shall return to the original

  amount of Twenty-Five Thousand and 00/100 Dollars ($25,000) as set forth in the Notice of

  Violation.
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 6 of 22
                                                       CODE VIOLATION CASE NO.: ZV2023-05061


          3.      Petitioner is further ordered to cease and desist using a single-family home for a

   commercial use and/or advertising the residential property for a commercial use and/or the

   transient (short-term) rental and/or occupancy rental or advertisement of the Property in violation

   of the City's Land Development Regulations and shall only utilize the Property as a residential

   dwelling consistent with those requirements set forth with City of Miami Beach's Code of Law and

   Ordinances.

          DONE AND ORDERED by the Special Magistrate of the City of Miami Beach, this 18"

  day of January, 2024.




                                                   ANNETTE E. CANNON, Chief Special Magistrate
                                                                   for the City of Miami Beach

  Copies furnished to:
  Steven H. Rothstein, Deputy City Attorney at StevenRothstein@miamibeachfl.gov
  Robert L. Switkes, Esquire at Rswitkes@switkeslaw.com>




                                                   2
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 7 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 8 of 22
     Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 9 of 22

                                                                                                                        qh_r




                                                                                                                               5/6.7ÿ687ÿ8-8
9:;<9ÿ9>?@AB
_`ab_ÿdefg`ÿfhdbfgÿiefjkÿ_`ab_ÿ_lmngoÿgephoÿqleql
                                                      ,-./,ÿCDEFFGHÿIFÿJD3ÿKE4GLÿMNMOÿC032ÿEPÿIPQRD1G33ESLGÿFD0TE3GÿUEP40RPÿFED3VW
XYÿ;Z:;Zÿ@Z;Z[>Z9                                                                                                       \\ÿ@<]^BÿZ?<


0123451ÿ74ÿ89 8 ÿ7ÿ147ÿÿ11ÿ1ÿ1ÿ4ÿ71ÿ04ÿ07ÿ011ÿ0ÿÿ01ÿ4ÿ7ÿ11 ÿ4771 7ÿ71 ÿÿ2
22ÿ71ÿ4 ÿ4ÿ5 1ÿ!7 ÿ71ÿ 1ÿ344ÿ4ÿ11ÿ74ÿ"112ÿ21ÿ4ÿ11ÿ4ÿ71ÿ71ÿ27ÿ#4ÿÿ31ÿ"4ÿ71ÿ$ %
&'()*ÿ,-./,ÿ,01234
  Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 10 of 22

                                                                                                                            opqr




01234ÿ6789 7 ÿÿ
014ÿÿ ÿ6ÿÿ 8ÿ9!9 ÿ"78#ÿ$7ÿ% &ÿ'(()8ÿ*)9ÿ$+ ÿ7 ÿ
012,24ÿ687ÿ-&)7 ÿ7ÿ*7
01.4ÿ$ÿ)&ÿ98ÿ' 8ÿ*7&)ÿ/0/1
212ÿ34524ÿ69&8ÿ7 ÿ9ÿ89+ 8ÿ' 8ÿ*7&)ÿ77&ÿ7ÿ7 7(ÿ898ÿ(9)) ÿ98ÿ7))ÿ8ÿ&8(&ÿ:ÿ78ÿ)+ 7 ÿ 8ÿ:ÿ898ÿ8+ 8&
ÿ6789 7 ÿÿÿ(78+&ÿ(9)) ÿ9(ÿ;ÿ7 ÿ+ÿ7ÿ*)7#)7<&ÿ= 7 ÿ&ÿ;ÿ8ÿ7ÿ:787&8ÿ778:8ÿ&878ÿÿ8
  (=)9&ÿ7ÿ*7 ÿ+ !  ÿ687ÿ-&)7 ÿ7 ÿ8 ÿ7ÿ8ÿ78ÿ+)7ÿ ÿ)+ 8+ÿ7 ÿ!9(+ÿ9&ÿ9&ÿ;ÿ7 ÿ7
:9))=&8# ÿ&> ÿÿ:+78ÿ:9))ÿ:ÿ* 7ÿ?)7& ÿ-@ÿ #&ÿ-ÿ89ÿ898ÿ:7& ÿ #&ÿ7ÿ&8+ÿ7 ÿ()8:9)
98&ÿ:ÿ"78Aÿ7 ÿ& ÿ9(ÿ#87)&ÿÿ7 =:78ÿ789ÿ"78Aÿ!88)ÿ()7&
'=)&8ÿ+9&8&ÿ)#ÿBCDÿBFGHCIÿ7 ÿJKCÿLMCCIÿNOPIÿ78ÿ6ÿÿ7 ÿQRPCGSTCUPÿÿ ÿ+) ÿÿ&)#ÿ!)7#ÿ9 &ÿ!98ÿ8
89ÿ&87ÿ:ÿ8ÿ+ 8ÿ77&ÿ7ÿ7&&ÿ897ÿ7  ÿ98ÿÿ89ÿ!88)=+)=&8)ÿ! ÿ69& ÿ! ÿ*9ÿ:ÿ7ÿ9:+887!)ÿ)ÿ7+ÿ$ ÿ=
&8ÿ&9& ÿ :ÿ87 ÿ7 ÿ+> ÿ8ÿ7 ÿ78ÿV9#ÿ(&ÿ98&ÿ!:ÿ&+ÿ9(ÿ897ÿ878ÿ!  ÿÿ):= 7++ÿ;
:& ÿ:788 ÿ7 ÿ!  ÿ:)7:9)ÿ$ ÿÿ+ 8ÿ)ÿ((=9(ÿ7)&ÿ:789 ÿ()8ÿ:ÿ&7#ÿ;ÿ9ÿ9)ÿ7ÿ8ÿ+9(ÿ &ÿ +
8 9+ 98ÿ8ÿ((8ÿ7 ÿ8ÿ7ÿ+9(ÿ& 8ÿ77&ÿ(9 


                                                                                                     WX6YÿX6-%ÿ"9'Yÿ'99ÿ8-ZW$ÿ98Z
                                                                                                                           [)ÿ ÿY 




                                                 \]^_ÿ\abc\ÿ]ddÿ]ebfghijbedhÿe_hÿ_k_



                                                 l]^_ÿj]kÿmbeÿcfg]njbedhÿe_hÿ_k_
  Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 11 of 22
                                              9:;<9ÿ>?@A<BC@9CDE@>Fÿ;GHB>9ÿIDDGBAE:ÿ@9ÿJ>BKGD>LM<B;?ÿB>?ÿ>:>
                                                                                                                                       [\]^
                                              NGABO9ÿI@9@GAHB>ÿP<AA;>ÿB>N;@DGKÿP>DGI>ÿGÿE<AÿD<II<?@A:LM<B;?ÿB>?ÿ>:>


0123ÿ56ÿ782ÿ9  ÿ3172ÿÿ 3723ÿ32 2ÿ2 8ÿ7823ÿ78ÿ72 ÿÿ 2ÿ32  ÿ ÿ7 ÿ217 ÿ82ÿ73 ÿ7ÿ7ÿ782
 9ÿ  6 2ÿ 6ÿÿ82 ÿ7826ÿ232 7ÿ7 ÿ73 ÿ ÿÿ687ÿ ÿÿ ÿ 9ÿ87ÿ5 3ÿÿ32ÿ ÿ ÿ 87ÿ 7 2
  ÿ782ÿ ÿ7ÿ 23ÿ7ÿ32 3 ÿ7ÿ2ÿ2 7ÿ232ÿ232 32ÿ3ÿ 6ÿ ÿÿ72 7 ÿ8 123ÿ78 ÿ7ÿ32 67ÿ837
ÿ!7ÿ 32ÿ56ÿ13 ÿ13ÿÿ0"#$0$ÿ% 8ÿ&'ÿ(7
)*+,ÿ./*++*.0ÿ1 73ÿ ÿ ÿÿ6ÿ 932 6ÿ872ÿ9 ÿ227ÿ ÿ73 23ÿ72ÿ78ÿÿ5 7ÿ7323ÿ8 7ÿ ÿÿ 2
93 ÿ8


                                                                                                                 1 $&Q!ÿÿ&RÿS&(ÿ&&ÿTQSÿT( 
                                                                                                                                      U3ÿ$2ÿT62


34*/5*6/.0ÿ7" 9 ÿ&12ÿ7ÿ7ÿ737ÿ 8 8


                                              ME<ÿMG9AKÿAH9GV M<B;?ÿB>?ÿ>:>



                                              9:;<9ÿ9@WEAKÿG9?ÿN>GD>ÿ<9ÿ>GBAELM<B;?ÿB>?ÿ>:>



                                              KGKE@I@ÿ@9D<I@9WLM<B;?ÿB>?ÿ>:>



                                              MEGAÿGÿJ@>MLM<B;?ÿB>?ÿ>:>



                                              :J<99>ÿ<BX@ÿ;<<Y>?ÿK;>>Yÿ@9ÿPHPP;>WHIÿN@9YLM<B;?ÿB>?ÿ>:>



                                              IGY>HNÿIGKA>BKÿNGAB@DYÿAGÿG9?ÿI>B>?@AEÿ?HZPHB:LM<B;?ÿB>?ÿ>:>



                                              9:;<9ÿ9@WEAKÿDG;;ÿF<BÿFB>KEÿF@AKLM<B;?ÿB>?ÿ>:>
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 12 of 22
                               012345ÿ7823ÿ92 ÿ 428 ÿ73ÿ43789 5 ÿ4 ÿ44
                                                                                
                                ÿ7ÿ9 5 ÿ4 ÿ44



                               273ÿ1 24 ÿ123 ÿÿ 2 8 9 5 ÿ4 ÿ44



                               8 4ÿ 4 1ÿ7 9 5 ÿ4 ÿ44



                               2314 ÿ3 53ÿ371 ÿ ÿ14ÿ 9 5 ÿ4 ÿ44
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 13 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 14 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 15 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 16 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 17 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 18 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 19 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 20 of 22
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 21 of 22



                            IN AND BEFORE THE SPECIAL MAGISTRATE
                              OF THE CITY OF MIAMI BEACH, FLORIDA

                                                      CODE VIOLATION CASE NO.: ZV2023-05061
   LEONARD HOCHSTEIN,

           Petitioner,

   vs.

   CITY OF MIAMI BEACH,

           Respondent.


                         AGREED ORDER MODIFYING MONETARY FINES

           UPON STIPULATION AND AGREEMENT with Robert Switkes, Esquire and on behalf of

   Leonard Hochstein, (hereinafter referenced as the "Petitioner"), and Deputy City Attorney, Steven

   H. Rothstein, counsel to Respondent (hereinafter referenced as the "City"), regarding the code

   enforcement violation referenced above in this Agreed Order against the real property which is

   located at 42 Star Island, Miami Beach, Florida (the "Property"), the respective parties having

   agreed to the terms of this Order,


           IT IS HEREBY ORDERED AND ADJUDGED as follows:

           1.      Petitioner hereby acknowledges that there is a violation of the City Code, Section

   142-109; using a single-family home for a commercial use and/or advertising the residential

   property for a commercial use and/or the transient (short-term) rental and/or occupancy, which

   violation is identified as Code Compliance Case Number ZV2023-05061 (first offense).

           2.     The parties agree that the monetary fine for this violation shall be modified to reflect

   the amount of Ten Thousand and 00/100 Dollars ($10,000), which shall be due on or before

   February 20, 2024. If payment is not made as specified above, the fine shall return to the original

   amount of Twenty-Five Thousand and 00/100 Dollars ($25,000) as set forth in the Notice of

   Violation.
Case 1:24-cv-24690-KMM Document 4-5 Entered on FLSD Docket 12/02/2024 Page 22 of 22
                                                       CODE VIOLATION CASE NO.: ZV2023-05061


          3.      Petitioner is further ordered to cease and desist using a single-family home for a

   commercial use and/or advertising the residential property for a commercial use and/or the

   transient (short-term) rental and/or occupancy rental or advertisement of the Property in violation

   of the City's Land Development Regulations and shall only utilize the Property as a residential

   dwelling consistent with those requirements set forth with City of Miami Beach's Code of Law and

   Ordinances.

          DONE AND ORDERED by the Special Magistrate of the City of Miami Beach, this 18"

   day of January, 2024.




                                                   ANNETTE E. CANNON, Chief Special Magistrate
                                                                   for the City of Miami Beach

   Copies furnished to:
   Steven H. Rothstein, Deputy City Attorney at StevenRothstein@miamibeachfl.gov
   Robert L. Switkes, Esquire at Rswitkes@switkeslaw.com>




                                                   2
